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 6                      IN THE UNITED STATES DISTRICT COURT
 7                            FOR THE DISTRICT OF ARIZONA
 8   Manuel de Jesus Ortega Melendres, on              No. CV-07-2513-PHX-GMS
 9   behalf of himself and all others similarly
     situated; et al.                                  ORDER
10
                          Plaintiffs,
11
     and
12
     United States of America,
13
                          Plaintiff-Intervenor,
14
     v.
15
     Paul Penzone, in his official capacity as
16   Sheriff of Maricopa County, Arizona; et al.
17                        Defendants.
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19         The Court has received and reviewed the Monitor’s invoice dated June 1, 2023 for
20   services rendered by the Monitor in May 2023. The Court finds the invoice and charges to
21   be reasonable and directs Maricopa County to authorize payment of the Monitor’s invoice
22   for the total amount, including any past due balance.
23         Dated this 6th day of June, 2023.
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